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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK




CRISTINA CARRILLO

                      Plaintiff,
                                                 Case No.1:23-CV-05692 (VSB)
           v.

MICOL SABBADINI, ZV NY, INC., ZV
France S.A.S., and JOHN DOES 1-5

                      Defendants.




            MEMORANDUM OF LAW BY DEFENDANT ZV NY, INC.
              IN SUPPORT OF PARTIAL MOTION TO DISMISS
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         Defendant ZV NY, Inc. (“ZV NY”), through its counsel, respectfully submit this

Memorandum of Law in Support of its Partial Motion to Dismiss. By this motion, ZV NY, Inc.

is moving this Court to dismiss Plaintiff’s claims for statutory damages pursuant to 17 U.S.C.

§ 504(c), attorney’s fees pursuant to 17 U.S.C. § 505, and any damages and profits pursuant to

17 U.S.C. § 504(b) related to alleged infringements that occurred more than three years before

the Complaint was filed on July 1, 2023.

               PRELIMINARY STATEMENT AND STATEMENT OF FACTS

         Plaintiff Cristina Carrillo (“Plaintiff”) has brought a claim against ZV NY alleging

copyright infringement. See Compl. ¶¶ 131-58. In sum, the claim against ZV NY is that,

beginning at least as early as February 2018, ZV NY manufactured, distributed, and sold t-shirts

featuring a photo on the front that depicted a poster that Plaintiff created and displayed at the

Women’s March in January 2017. Id. ¶¶ 27, 28, 47, 55, 134. The poster created by Plaintiff is

the allegedly copyrighted work that forms the basis of this action, and it was partially registered

effective December 4, 2022. Id. ¶¶ 103, 104, 132.1 Plaintiff brought this action by filing a

Complaint on July 1, 2023.

         The facts as pleaded by Plaintiff therefore demonstrate that the alleged infringement

commenced after first publication of Plaintiff’s work and before the effective date of its

registration. As discussed below, pursuant to 17 U.S.C. § 412, no award of statutory damages or

attorney’s fees is therefore available to Plaintiff in this action. As also discussed below, the law

in this Circuit is clear that Plaintiff is not entitled to any monetary award pursuant to 17 U.S.C.

§ 504(b) related to alleged infringements that occurred prior to July 1, 2020, which represents

three years before the Complaint was filed.


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    The copyright registration covers the artwork on the poster, but not the short phrase or slogan
    that comprises the near entirety of the poster itself. See Compl., Ex. 20.
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                                           ARGUMENT

I.     PLAINTIFF IS NOT ENTITLED TO STATUTORY DAMAGES OR
       ATTORNEY’S FEES BECAUSE THE ALLEGED
       INFRINGEMENT COMMENCED PRIOR TO REGISTRATION

        Courts in this Circuit often dismiss claims for statutory damages and/or attorney's fees at

the Rule 12(b)(6) stage pursuant to 17 U.S.C. § 412 if, before the alleged infringement

commenced, a work is neither (1) registered, nor (2) published before the infringement. See, e.g.,

Fioranelli v. CBS Broadcasting Inc., 232 F. Supp. 3d 531, 543 (S.D.N.Y. 2017) (Broderick, J.)

(dismissing claim for statutory damages and attorney’s fees where the complaint demonstrated

that the alleged infringement began before the effective date of the registration); Crowley v.

Jones, 608 F. Supp. 3d 78, 90 (S.D.N.Y. 2022) (same); Shihab v. Complex Media, Inc., No. 21-

CV-6425, 2022 WL 3544149, at *7 (S.D.N.Y. Aug. 17, 2022) (dismissing claim for statutory

damages and attorney’s fees even though plaintiff argued that it might find subsequent

infringements); Solid Oak Sketches, LLC v. 2K Games, Inc., No. 16-CV-724, 2016 WL 4126543,

at *4 (S.D.N.Y. Aug. 2, 2016) (finding that because plaintiff alleged that the infringement began

before the registration, “Plaintiff is not entitled to recover either statutory damages or attorneys’

fees [and] Defendants’ motion to dismiss Plaintiff's claims for statutory damages and attorneys’

fees is therefore granted”); Argentto Sys., Inc. v. Subin Assocs., LLP, No. 10-CV-8174, 2011 WL

2534896, at *3 (S.D.N.Y. June 24, 2011) (“Because the alleged infringement began before the

effective date of the copyright registration of the software at issue, the motion to dismiss

Plaintiffs’ claims for statutory damages and attorney fees is granted.”); C.A. Inc. v. Rocket

Software, Inc., 579 F. Supp. 2d 355, 364 (E.D.N.Y. 2008) (noting in precluding statutory

damages and attorney’s fees at the Rule 12(b)(6) stage that “[w]here, as here, the infringement is

alleged to have commenced prior to registration . . . statutory damages and attorneys’ fees are

unavailable.”); Ez-Tixz v. Hit-Tix, Inc., 919 F. Supp. 728, 736 (S.D.N.Y. 1996) (dismissing
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plaintiff's claims for statutory damages and attorney's fees because “[t]he plaintiff's own

complaint alleges that the infringement began [before the alleged registration date]”).

       Section 504(a) of the Copyright Act provides that a copyright infringer is liable for either

the copyright owner's actual damages or statutory damages. 17 U.S.C. § 504(a). Section 505

provides that a court may award reasonable attorney’s fees to the prevailing party in a copyright

action. 17 U.S.C. § 505. However, “17 U.S.C. § 412 precludes an award of attorney's fees for

any act of infringement commenced prior to the effective date of registration of the asserted

copyright.” Knitwaves, Inc. v. Lollytogs Ltd. (Inc.), 71 F.3d 996, 1012 (2d Cir. 1995); 17 U.S.C.

§ 412 (“no award of statutory damages or attorney's fees, as provided by sections 504 and 505,

shall be made for – (1) any infringement of copyright in an unpublished work commenced before

the effective date of its registration.”). “Even ‘[w]here the alleged infringement begins before

registration and continues after registration, statutory damages and attorney fees are still

unavailable.’” Solid Oak Sketches, LLC, 2016 WL 4126543, at *2 (quoting Argentto Sys., Inc.,

2011 WL 2534896, at *2).

       As explained by Judge Swain:

               Courts in this district have held that Section 412 of the Copyright
               Act imposes a bright-line rule that precludes recovery of statutory
               damages and attorneys’ fees where the first act of infringement in a
               series of ongoing infringements occurred prior to the work's
               copyright registration, finding such a bright-line rule preferable to
               case-by-case analyses of whether a series of infringements has
               stopped sufficiently such that the restart constitutes a new set of
               infringements.

Id. (quotation marks omitted); accord Craig v. UMG Recordings, Inc., 380 F. Supp. 3d 324, 336

(S.D.N.Y. 2019) (collecting cases); Shady Recs., Inc. v. Source Enterprises, Inc., 2005 WL

14920, at *20-22 (S.D.N.Y. Jan. 3, 2005).




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        Plaintiff pleads in the Complaint that the effective date of the copyright registration that

is the basis for this case is December 4, 2022 and any alleged infringement by ZV NY was

commenced prior to that date. See Compl. ¶¶ 47, 49, 50, 55, 60, 92. Indeed, Plaintiff even

alleges that she sent a notification to ZV NY accusing it of infringement on November 7, 2022 –

nearly a month before Plaintiff’s registration was issued. Id. ¶¶ 89, 90. By the pleading of the

Complaint itself, Plaintiff has therefore demonstrated that she is not entitled to statutory damages

or attorney’s fees in this action and those claims should be dismissed.

II.     PLAINTIFF IS NOT ENTITLED TO DAMAGES AND/OR
        PROFITS FOR ALLEGED INFRINGMENTS THAT
        OCCURRED PRIOR TO JULY 1, 2020

        ZV NY seeks a ruling that an award of damages and/or profits are limited to the three

years preceding the filing of the Complaint on July 1, 2023 pursuant to the applicable statute of

limitations. As with the motion to dismiss statutory damages above, motions to limit damages

may be considered at the motion to dismiss stage. See, e.g., Hayden v. Koons, No. 21-CV-10249

(LGS), at *6 (S.D.N.Y. July 18, 2022) (granting motion for a ruling limiting damages to the

three-year period prior to the commencement of the action).

        As the Supreme Court stated in 2014, “a successful plaintiff can gain retrospective relief

only three years back from the time of suit” in a federal copyright action. Petrella v. Metro-

Goldwyn-Mayer, Inc., 572 U.S. 663, 677 (2014). In Sohm v. Scholastic Inc., 959 F.3d 39, 51 (2d

Cir. 2020), the Second Circuit confirmed that the Copyright Act limits a plaintiff to monetary

awards for the period three years before the complaint was filed. The Sohm Court specifically

held that no recovery may be had for infringement in “earlier years” more than three years back

from the date that the complaint was filed. Id. at 52. The Court concluded that “a three-year

look back period” must be applied “from the time a suit is filed to determine the extent of the

relief available.” Id.
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       Under the clear precedent applicable in this Circuit, Plaintiff’s monetary relief is

therefore limited to any alleged infringement that Plaintiff can prove occurred on or after July 1,

2020. ZV NY respectfully requests the Court issue a ruling to that effect.

                                         CONCLUSION

       For the reasons set forth above, the ZV NY respectfully requests that this Court grant ZV

NY’s motion to dismiss Plaintiff’s claims for statutory damages pursuant to 17 U.S.C. § 504(c),

attorney’s fees pursuant to 17 U.S.C. § 505, and any damages and profits pursuant to 17 U.S.C.

§ 504(b) related to alleged infringements that occurred more than three years before the

Complaint was filed on July 1, 2023.

                                              Respectfully submitted,

Dated: August 15, 2023                       HAND BALDACHIN & ASSOCIATES LLP

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